Case 1-18-46141-ess Doc 43 Filed 09/12/19 Entered 09/12/19 11:05:18

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
AFFIDAVIT OF MAILING

KELVIN D PAYTON
CASE #: 1-18-46141-ess

Debtor.
CHAPTER 7

 

STATE OF NEW YORK _)
COUNTY OF MONROE _)SS:

I, Kevin P, Hoenig, being duly sworn, deposes and says:
Deponent is not a party to this action and is over 18 years of age.

THAT on September 12, 2019, deponent served the annexed Motion For Relief From
Stay (ECF 33) on the parties listed below by depositing a true copy of same enclosed in a
postpaid properly addressed wrapper, in a post office depository under the exclusive care and
custody of the United States Postal Service.

Robert J Musso

26 Court Street
Suite 2211
Brooklyn, NY 11242

Kevin P. Hoenis

Sworn to before me this
12'" day of September 2019.

Ul ba CE Bn

NOTARY PUBLIC

 

NOTARY PUBLIC, STATE OF NEW YORE
Registration No. 01 DAGSS5016
Qualified in Monroe Gounty

ANDREW WILLIAM DAVIS. |
Commission Expires Dacersber 24, ano

 

 

 

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